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                 IN THE UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA



SERGIO SALANI,
                                                 Case No.:
             Plaintiff,
                                                 Removed from the County Court of
      v.                                         the 11th Judicial Circuit in and for
                                                 Miami-Dade County, Florida, Case
AT&T MOBILITY LLC,                               No. 2022-047421-SP-25

             Defendant.


                    AT&T Mobility LLC’s Notice of Removal

      Defendant AT&T Mobility LLC removes this action currently pending in the

County Court of the 11th Judicial Circuit in and for Miami-Dade County, to the

United States District Court for the Southern District of Florida, on the grounds

that this Court has original jurisdiction over this civil action pursuant to 28 U.S.C.

§§ 1332, 1441 and 1446.

                           NATURE OF REMOVED ACTION

      1)     On March 30, 2024, AT&T announced that AT&T-specific data fields

were contained in a data set released online approximately two weeks before. AT&T

shared its determination with regulators and the public, took precautionary

measures, and began notifying customers. As of January 23, 2025, over 100 related

actions have been filed against AT&T and its related entities, including AT&T

Mobility LLC, in connection with the incident.
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      2)     On April 2, 2024, one of the plaintiffs moved the Judicial Panel on

Multidistrict Litigation (“JPML”) to consolidate pending federal court actions in

multidistrict litigation (“MDL”) in the Northern District of Texas. See In re AT&T

Inc. Customer Data Security Breach Litigation, JPML No. 3114, ECF No. 1 (Apr. 2,

2024). On June 5, 2024, the JPML issued a Transfer Order consolidating actions

relating to the data incident on the grounds that centralization will eliminate

duplicative discovery, prevent inconsistent pretrial rulings, and conserve the

resources of the parties, their counsel, and the judiciary. The JPML assigned the

consolidated proceeding to Judge Ada E. Brown in the Northern District of Texas

and broadly noted that “any other related actions” are potential tag-along actions

pursuant to the JPML Rules. See In re AT&T Inc. Customer Data Security Breach

Litigation, JPML No. 3114, ECF No. 139 (June 5, 2024) (the “Texas MDL”).

      3)     In December 2022, Plaintiff commenced an action against AT&T

Mobility LLC in the County Court of the 11th Judicial Circuit in and for Miami-

Dade County bringing claims related to an administrative fee issue unrelated to the

data incident (the “State Court Action”). On December 13, 2024, the Miami-Dade

County Court granted AT&T’s motion to dismiss Plaintiff’s administrative fee

claims and granted Plaintiff’s motion for leave to file an amended complaint. The

Court ordered Plaintiff to file the amended complaint by December 23, 2024. On

December 18, 2024, Plaintiff moved for an extension of the deadline to file an

amended complaint, which the Court granted on January 6, 2025. On January 17,

2025, Plaintiff filed an amended complaint (the “Complaint”) bringing claims for




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negligence, violations of the Florida Deceptive and Unfair Trade Practices Act, and

breach of the implied duty of good faith and fair dealing related to the data incident

that is the subject of the Texas MDL. Plaintiff’s Complaint seeks damages,

attorney’s fees and costs, declaratory judgment, injunctive relief, and “any other

relief the Court deems just and proper.” Plaintiff’s Complaint in the State Court

Action is attached hereto as Exhibit A, and a true and correct copy of the state

court docket and all process, pleadings, and orders served on AT&T Mobility LLC in

the State Court Action is attached hereto as Exhibit B.

      4)     In addition to this case, Plaintiff’s counsel has filed over 50 other

complaints against AT&T Mobility LLC raising identical claims regarding the same

data incident. To date, AT&T has removed 25 of these cases on similar grounds as

asserted here to the Southern District of Florida. See, e.g., Caruso v. AT&T Mobility

LLC, No. 24-cv-22597; Surowiec v. AT&T Mobility LLC, No. 24-cv-22619; Young v.

AT&T Mobility LLC, No. 24-cv-22625; Quick v. AT&T Mobility LLC, No. 24-cv-

22682; Varela v. AT&T Mobility LLC, No. 24-cv-22666; Simply180 v. AT&T

Mobility LLC, No. 0:24-cv-61743; Simon v. AT&T Mobility LLC, No. 0:24-cv-61737;

Braverman v. AT&T Mobility LLC, No. 24-cv-23685; Van Teeffelen v. AT&T

Mobility LLC, No. 1:24-cv-23776; Bornstein v. AT&T Mobility LLC, No. 9:24-cv-

81225; Spring v. AT&T Mobility LLC, No. 1:24-cv-24061; Claims Holding Group,

LLC (Heising) v. AT&T Mobility LLC, No. 1:24-cv-24065; Stormont v. AT&T

Mobility LLC, No. 1:24-cv-24943; FFMM Services, LLC v. AT&T Mobility LLC, No.

1:24-cv-25056; Claims Holding Group, LLC (Anthony) v. AT&T Mobility LLC, No.




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1:25-cv-20076; Claims Holding Group, LLC (Appleman) v. AT&T Mobility LLC, No.

1:25-cv-20086; Claims Holding Group, LLC (Bailey) v. AT&T Mobility LLC, No.

1:25-cv-20088; Claims Holding Group, LLC (Belcher) v. AT&T Mobility LLC, No.

1:25-cv-20082; Claims Holding Group, LLC (Branch) v. AT&T Mobility LLC, No.

1:25-cv-20098; Claims Holding Group, LLC (Joy) v. AT&T Mobility LLC, No. 1:25-

cv-20102; Claims Holding Group, LLC (Lyons) v. AT&T Mobility LLC, No. 1:25-cv-

20106; Claims Holding Group, LLC (Malloy) v. AT&T Mobility LLC, No. 1:25-cv-

20114; Claims Holding Group, LLC (McAnn) v. AT&T Mobility LLC, No. 1:25-cv-

20130; Claims Holding Group, LLC (Smith) v. AT&T Mobility LLC, No. 1:25-cv-

20131; and Claims Holding Group, LLC (Wax) v. AT&T Mobility LLC, No. 1:25-cv-

20129.

      5)     AT&T removed the Caruso, Young, Surowiec, Varela and Quick actions

in July and tagged them for inclusion in the Texas MDL. The courts in Caruso,

Young, Surowiec and Quick sua sponte stayed all proceedings—including decisions

on virtually identical motions to remand filed by Plaintiff’s counsel—pending a

decision on transfer to the JPML. See, e.g., Surowiec, Case No. 1:24-cv-22619, ECF

13 (S.D. Fla. July 26, 2024) (Chief Judge Altonaga) (“Defendant argues that keeping

the case closed until the JPML decides the transfer issue is in the interest of

judicial economy and consistency [and] Plaintiff may renew her motion to remand

after such decision. . . Defendant’s position is well taken.”). On October 4, 2024, the

JPML transferred the Caruso, Young, Surowiec, Varela and Quick actions to the

Texas MDL over Plaintiff’s counsel’s objection because they “involve common




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questions of fact with the actions transferred to MDL No. 3114, and [ ] transfer

under 28 U.S.C. § 1407 will serve the convenience of the parties and witnesses and

promote the just and efficient conduct of the litigation.” See In re AT&T Inc.

Customer Data Sec. Breach Litig., MDL No. 3114, ECF No. 256.

      6)     Between September 19 and October 2, 2024, AT&T also timely

removed the Simon, Simply180, Braverman, Van Teeffelen, and Bornstein actions

and tagged each for inclusion in the Texas MDL. The JPML conditionally

transferred each of these actions to the Texas MDL on October 10, 2024, on the

grounds that they “encompass claims relating to the alleged data security breach

announced by AT&T . . . [and] involve questions of fact that are common to the

actions previously transferred to MDL No. 3114.” See In re AT&T Inc. Customer

Data Sec. Breach Litig., MDL No. 3114, ECF No. 259. Meanwhile, the district courts

in these cases stayed all proceedings pending a transfer decision by the JPML. See,

e.g., Bornstein, Case No. 9:24-cv-81225, ECF 16 (denying motion to remand without

prejudice and staying and administratively closing case pending a JPML transfer

decision). Plaintiff filed a motion with the JPML to vacate transfer of these cases

and briefing was closed on December 2, 2024. See In re AT&T Inc. Customer Data

Sec. Breach Litig., MDL No. 3114, ECF 289. The JPML scheduled a hearing,

without oral argument, for January 30, 2025, to address Plaintiff’s counsel’s motion

to vacate transfer in each of these cases. AT&T expects these actions to be

transferred to the MDL over Plaintiff’s counsel’s objection shortly after the

hearing—exactly what occurred in Caruso, Young, Surowiec, Quick, and Varela.




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       7)    On October 21, 2024, AT&T removed the Spring and Claims Holding

(Heising) actions. The JPML conditionally transferred plaintiffs’ claims regarding

the data incident to the Texas MDL on November 26, 2024, on the grounds that

they “involve[] questions of fact that are common to the actions previously

transferred to MDL No. 3114.” Id., ECF 285. Plaintiff’s counsel filed a motion to

vacate transfer of these cases on December 17, 2024, and AT&T filed its response on

January 7. Id., ECF 312, 323. Meanwhile, the district courts presiding over these

cases stayed all proceedings—including decisions on motions to remand— pending a

decision on transfer by the JPML. See, e.g., Spring, No. 1:24-cv-2406, ECF 17

(staying proceedings pending a Panel decision because it “increase[s] efficiency and

consistency, particularly when the transferor court believes that a transfer order is

likely and when the pending motions raise issues likely to be raised in other cases

as well”).

       8)    In December 2024, AT&T removed the Stormont and FFNM actions

and tagged them for inclusion in the Texas MDL. AT&T expects the JPML to

conditionally transfer plaintiffs’ claims regarding the data incident to the Texas

MDL shortly.

       9)    Between January 7 and January 9, 2025, AT&T also removed 11 near

identical actions filed by Plaintiff Claims Holding—Anthony, Appleman, Bailey,

Belcher, Branch, Joy, Lyons, Malloy, McAnn, Smith, Wax—to the Southern District

of Florida and tagged them for inclusion in the Texas MDL. Plaintiff’s counsel

immediately filed nearly identical remand motions in each action. In less than a




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week after removal, the courts in six of these actions sua sponte stayed all

proceedings and administratively closed the cases pending a decision by the JPML

on transfer to the MDL—four also denied Plaintiff’s counsel’s nearly identical

motions for remand. See, e.g., Claims Holding Group (Anthony), No. 1:25-cv-20076,

ECF 5 (Jan. 9, 2025) (denying Plaintiff’s counsel’s remand motion because the

“JPML may transfer the case to the Northern District of Texas to be consolidated in

a pending Multidistrict Litigation” and, if not transferred, “Plaintiff may renew the

Motion”); Claims Holding Group (Belcher), No. 1:25-cv-20082, ECF 4 (Jan. 8, 2025)

(“The Court finds that Plaintiff will not be prejudiced by a brief stay of proceedings

pending transfer, especially since Plaintiff may renew its Motion to Remand after

the JPML has reached its decision.”). AT&T expects the JPML to conditionally

transfer plaintiffs’ claims regarding the data incident to the Texas MDL shortly.

      10)    The remaining actions are cases that were initially filed by Plaintiff’s

counsel against AT&T in Florida state court—some as far back as 2019—for claims

regarding an unrelated administrative fee issue. Plaintiff’s counsel has sought leave

to amend each of these cases to add claims related to the data incident that is the

subject of the Texas MDL.

      11)    Plaintiff’s claims are virtually indistinguishable from those already

filed across the country against AT&T Inc. and AT&T Mobility LLC—including

several brought by Florida citizens and in Florida federal courts—and consolidated

for coordinated proceedings in the Northern District of Texas.




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      12)    Indeed, there are numerous previously-filed federal cases transferred

to the Texas MDL where Plaintiff is already a putative class member. For example,

Plaintiff is a putative class member in cases seeking to represent “nationwide”

classes of those allegedly impacted by the incident. See e.g., Garner v. AT&T Inc.,

Case No. 3:24-cv-00962 (N.D. Tex.), ECF 1 at ¶¶ 21, 52, 53, 133, 155 (negligence

and FDUTPA claims brought by a Florida citizen on behalf of a nationwide putative

class and a Florida subclass of individuals whose information was compromised as a

result of the data incident); Castro v. AT&T Inc., Case No. 24-cv-1992 (N.D. Tex.),

ECF 1 at ¶¶ 13, 317 (negligence and FDUTPA claims brought by Florida citizen on

behalf of a nationwide and Florida class of all individuals “whose PII was accessed

or otherwise compromised as a result of the” data incident).

      13)    Because Plaintiff’s claims are already subsumed within putative class

actions currently pending in the MDL, Plaintiff’s case is removable pursuant to the

Class Action Fairness Act. Moreover, because Plaintiff and AT&T Mobility LLC are

completely diverse and the amount in controversy exceeds $75,000, removal is

proper pursuant to 28 U.S.C. 1332(a).

                            JURISDICTION UNDER CAFA

      14)    Pursuant to the Class Action Fairness Act (“CAFA”), where a proposed

class involves 100 or more members, “[t]he district courts shall have original

jurisdiction of any civil action in which the matter in controversy exceeds the sum

or value of $5,000,000, exclusive of interest and costs, and is a class action in which




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. . . any member of a class of plaintiffs is a citizen of a State different from any

defendant.” 28 U.S.C. § 1332(d)(2)(A) and (d)(5).

      15)    CAFA is designed to create “efficiencies in the judicial system by

allowing overlapping and ‘copycat’ cases to be consolidated in a single federal court”

and to place “the determination of more interstate class action lawsuits in the

proper forum—the federal courts.” Freeman v. Blue Ridge Paper Prods., Inc., 551

F.3d 405, 408 (6th Cir. 2008) (quoting S. Rep. No. 109-14, at 5 (2005)). Indeed,

CAFA was intended to “mak[e] it harder for plaintiffs’ counsel to ‘game the system’

by trying to defeat diversity jurisdiction.” Id.

      16)    “CAFA’s ‘provisions should be read broadly, with a strong preference

that interstate class actions should be heard in a federal court if properly removed

by any defendant.’” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81,

89 (2014). And where, as here, a plaintiff’s claims are already subsumed within an

existing MDL, courts have looked past artificial limitations in plaintiff’s pleadings

in finding federal jurisdiction.

      17)    For example, in In re Kitec Plumbing Systems Products Liability

Litigation, 2010 WL 11618052 (N.D. Tex. Aug. 23, 2010), while an MDL involving

allegedly defective HVAC pipe was proceeding in Texas, residents of two small

communities in Washington filed actions in state court asserting the same claims.

The Washington cases were removed and subsequently transferred to the MDL,

where the removed plaintiffs sought to remand on the basis that CAFA’s amount-in-

controversy threshold was not met. Indeed, the removed plaintiffs had pled under




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the $5 million threshold by carving themselves out of a putative Washington class

already pending before the MDL. But the Kitec court denied the motions to remand

holding instead that it could “pierce the pleadings in order to determine the

propriety of federal jurisdiction[,]” and look to the overlapping claims in the MDL

class that were “already properly before this Court” in finding federal jurisdiction.

Id. at *6.

       18)   The Kitec court further reasoned that allowing the removed plaintiffs

to proceed in state court would erode the judicial efficiencies created by the MDL

and undermine CAFA’s aim of eliminating both gamesmanship and copycat actions.

The court found that the MDL “implicates [the] multistate or national interests”

that CAFA was designed to protect and that the removed actions threatened to

“create duplicative, overlapping or even identical litigation to [the MDL] if they

were to be remanded.” Id. at *7.

       19)   Similarly, in Simon v. Marriott Int’l, Inc., 2019 WL 4573415 (D. Md.

Sept. 20, 2019), plaintiffs brought claims arising out of a data breach incident in

Connecticut state court despite an ongoing MDL proceeding addressing dozens of

cases brought by plaintiffs nationwide regarding the same incident. To avoid

diversity jurisdiction, the Simon plaintiffs pled that they intended to represent only

a class of stateless individuals domiciled abroad. Id. at *1−2. But the Court found

that there was “[no] legitimate basis for the need to litigate their claims separately

from the MDL because of their geographic location” and to do so would mean




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plaintiffs “could recover from both their state court action and from the MDL.” Id. at

*4.

      20)    The Simon court further explained that “[t]he policy justifications for

finding federal jurisdiction under CAFA even when it is absent on the face of the

plaintiff’s complaint, such as preventing inefficiency and ‘ensuring federal court

consideration of interstate cases of national importance,’ hold even more true in the

MDL context.” Id. Indeed, “[t]he primary objective of an MDL is to promote the just

and efficient conduct of actions that involve common questions of fact. This interest

in fairness and efficiency is even stronger in the context of MDLs than in a stand-

alone CAFA class action because MDLs combine multiple class (and individual)

actions into one lawsuit for purposes of pretrial proceedings.” Id. Thus, “[a]llowing

the Simons to manipulate CAFA would be harmful here because it could disrupt the

orderly progress of the pretrial process in the Marriott MDL.” Id.

      21)    A similar result was reached in Sanders v. Kia America, Inc., 2023 WL

3974966 (C.D. Cal. June 13, 2023). There, California residents filed a tort action on

behalf of individual plaintiffs in California state court against a California car

company regarding issues with anti-theft technology. The Sanders plaintiffs’ claims

were the same as those raised in a pending MDL proceeding created to centralize all

litigation for suits by consumers who purchased or leased vehicles that lacked the

anti-theft technology. Plaintiffs alleged there was not minimal diversity for removal

purposes because both plaintiffs and the car companies were California residents.




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       22)    Citing Simon, the court disagreed, and “reach[ed] beyond the

pleadings” to determine that minimal diversity existed because the Sanders

plaintiffs were subsumed by a class in the MDL that contained non-California

citizens. Id. at *5.

       23)    The Sanders court explained that, “[while] Plaintiffs are entitled to

choose a state forum for their action by limiting the number of plaintiffs or the

amount of recovery they seek[,] where there is actually no difference between th[e]

action and the existing claims that are being pursued in a multidistrict litigation . .

. this is exactly the type of case that CAFA envisioned as removable.” Id. at *6.

       24)    This case is like Kitec, Simon, and Sanders. The incident allegedly

impacted individuals nationwide and has resulted in over 100 suits raising the

same types of claims, seeking the same types of relief, and seeking to represent

classes that necessarily include Plaintiff’s suit. Thus, the Court has jurisdiction

under CAFA.

       A.     There are more than 100 putative class members.

       25)    CAFA provides that the district courts shall not have jurisdiction over

actions “where the number of members of all proposed plaintiff classes in the

aggregate is less than 100.” 28 U.S.C. § 1332(d)(5).

       26)    Here, Plaintiff’s claims are subsumed by cases already pending before

the MDL involving identical claims for relief on behalf of more than 100 putative

class members See e.g., Garner, ECF 1 at ¶ 54 (alleging the class consists of more




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than 73 million individuals); Castro, ECF 1 at ¶ 76 (alleging the class consists of

more than 100 individuals).

      B.     Minimal diversity exists.

      27)     Under CAFA, diversity of citizenship exists where “any member of a

class of plaintiffs is a citizen of a State different from any defendant.” 28 U.S.C.

§ 1332(d)(2)(A).

      28)    Plaintiff is a citizen of the state of Florida.

      29)    AT&T Mobility LLC is a Delaware limited liability company.

      30)    “[A] limited liability company is deemed to be a citizen of any state of

which any of its members is a citizen.” Blue Ridge Healthcare Mgmt., LLC v.

Western World Ins. Co., 2020 WL 13356807, at *2 (S.D. Fla. Dec. 15, 2020).

      31)    AT&T Mobility LLC is a limited liability company composed of four

members: BellSouth Mobile Data, Inc., New Cingular Wireless Services, Inc., SBC

Long Distance, LLC, and AT&T Investment & Tower Holdings, LLC.

      32)    BellSouth Mobile Data, Inc. is a Georgia corporation with its principal

place of business in Georgia. Thus, BellSouth Mobile Data is a citizen of Georgia.

      33)    New Cingular Wireless Services, Inc. is a Delaware corporation with

its principal place of business in Georgia. Thus, New Cingular Wireless Services is a

citizen of Delaware and Georgia.

      34)    SBC Long Distance, LLC is a limited liability company with one

member—SBC Telecom, Inc., which is a Delaware corporation with its principal




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place of business in Texas. Thus, SBC Long Distance, LLC is a citizen of Delaware

and Texas.

      35)    AT&T Investment & Tower Holdings, LLC is a limited liability

company with four members—AT&T Capital Services, Inc., JVI General

Partnership, SBC Portfolio Holdings, Ltd., and SBC Telecom, Inc.

      36)    AT&T Capital Services, Inc. is a Delaware corporation with its

principal place of business in Illinois. Thus, AT&T Capital Services is a citizen of

Delaware and Illinois.

      37)    JVI General Partnership has two partners—AT&T Wireline Holdings,

LLC and AT&T Solutions Inc. For purposes of determining diversity jurisdiction,

“partnerships are citizens of every state in which one of their members or partners

are citizens.” Kohlmeier v. American Honda Motors Co., Inc., 2022 WL 4104035, at

*1 (M.D. Fla. Sept. 8, 2022). AT&T Wireline Holdings, LLC has one member—

AT&T DW Holdings, Inc., a New York corporation with its principal place of

business in Texas. Thus, AT&T Wireline Holdings is a citizen of New York and

Texas. AT&T Solutions Inc. is a Delaware corporation with its principal place of

business in Texas. Thus, AT&T Solutions is a citizen of Delaware and Texas.

Therefore, JVI General Partnership is a citizen of New York, Texas, and Delaware.

      38)    SBC Portfolio Holdings, Ltd. is a Delaware corporation with its

principal place of business in Texas. Thus, SBC Portfolio is a citizen of Delaware

and Texas.




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       39)   SBC Telecom, Inc. is a Delaware corporation with its principal place of

business in Texas. Thus, SBC Telecom is a citizen of Delaware and Texas.

       40)   Based on the foregoing, AT&T Mobility LLC is a citizen of the states of

Georgia, Delaware, Texas, New York, and Illinois.

       41)   Thus, there is complete diversity between Plaintiff and AT&T Mobility

LLC.

       C.    Amount-in-controversy is satisfied.

       42)    Pursuant to CAFA, the complaint must put in controversy more than

$5,000,000, exclusive of interest and costs. See 28 U.S.C. § 1332(d)(2). The claims of

individual class members are aggregated for purposes of CAFA’s amount-in-

controversy requirement. See 28 U.S.C. § 1332(d)(6).

       43)   The amount-in-controversy requirement is satisfied for the same

reason CAFA diversity and numerosity exist in this case. Because Plaintiff’s suit is

subsumed within numerous putative classes already in the MDL, the Court may

look to these actions to evaluate the amount placed in controversy. See, e.g.,

Sanders, 2023 WL 3974966, at *6 (aggregating claims of members in MDL class and

case brought by individuals to reach CAFA amount-in-controversy); see also Garner,

ECF 1 at ¶ 9 (MDL case subsuming Plaintiff in its class definition and alleging the

amount in controversy is over $5 million); Castro, ECF 1 at ¶ 76 (same).

       44)   Because Plaintiff’s case is subsumed by numerous cases already

pending in the MDL, the CAFA requirements for numerosity, diversity, and amount

in controversy are easily met. Thus, removal is proper.




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                GROUNDS FOR REMOVAL UNDER 28 U.S.C. § 1332(a)

      45)    Pursuant to 28 U.S.C. 1332(a), the Court also has jurisdiction over this

case because (1) there is complete diversity of citizenship between Plaintiff and

AT&T Mobility LLC; and (2) the amount in controversy exceeds $75,000, exclusive

of interests and costs.

      A.     Complete diversity exists.

      46)    AT&T Mobility LLC is a citizen of the states of Georgia, Delaware,

Texas, New York, and Illinois, and Plaintiff is a citizen of the state of Florida.

      47)    Thus, there is complete diversity between Plaintiff and AT&T Mobility

LLC pursuant to 28 U.S.C. 1332(a)(1).

      B.     The amount in controversy is satisfied.

      48)    The amount in controversy is also satisfied here. Indeed, Plaintiff

seeks at least $8,000 in damages, attorney’s fees and costs, injunctive and

declaratory relief, and “any other relief the Court deems just and proper.”

      49)    An action may be removed if the defendant establishes, consistent with

the pleading requirements of Civil Rule 8, that the aggregate amount in

controversy, exclusive of interest and costs, exceeds $75,000. See 28 U.S.C.

§ 1332(a); Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 84

(2014). When a defendant seeks to remove an action to federal court on grounds of

diversity jurisdiction, “the defendant’s amount-in-controversy allegation should be

accepted [as true] when not contested by the plaintiff or questioned by the court.”

Dart Cherokee Basin Operating Co., LLC, 574 U.S. at 87. This standard is




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appropriate even when the complaint fails to allege, or seeks, a specific amount of

damages. See NextPlat Corp. v. Seifert, 2023 WL 4972827, at *3−4 (S.D. Fla. June

14, 2023) (citing Dart Cherokee and explaining that a “removing defendant satisfies

[the amount-in-controversy] requirement by claiming a sufficient sum in good faith”

despite plaintiff’s complaint not pleading more than $75,000 at issue).

      50)    Plaintiff seeks an actual damages award of $8,000. Thus, AT&T

Mobility LLC need only demonstrate that Plaintiff’s additional claims for relief are

worth $67,000.01. ($75,000.01 − $8,000 = $67,000.01)

      51)    Attorney’s Fees. In addition to $8,000 in damages, Plaintiff also

requests its costs and attorneys’ fees incurred litigating this case.

      52)    “When a statute authorizes, and a plaintiff requests, attorney’s fees, a

reasonable amount of those fees should be included in the amount-in-controversy.”

Bele v. 21st Century Centennial Ins. Co., 2015 WL 3875491, at *3 (M.D. Fla. May 15,

2015). Here, Plaintiff has brought a Florida Unfair and Deceptive Practices Act

claim, which expressly provides for the recovery of attorney’s fees. See Fla. Stat. §

501.2105.

      53)    To determine whether the amount-in-controversy is met, the Court

may consider the amount of attorney fees awarded in similar cases through trial.

See Bele, 2015 WL 3875491, at *3 (relying on its “judicial experience and common

sense” to find that the amount-in-controversy was met where an attorney fee award

in comparable cases would exceed the jurisdictional minimum); Gonzalez v.

Honeywell Int’l, Inc., 2017 WL 164358, at *3 (M.D. Fla. Jan. 17, 2017) (same; “The




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Court need not pinpoint the exact dollar figure of [attorney’s fees] to recognize that

their value adds thousands of dollars to the amount in controversy.”).

      54)    Attorney fee awards in comparable FDUTPA cases would be sufficient

to bring the amount-in-controversy here to well over $67,000. See, e.g., Wahl

Hungaria KFT v. 4G Elecs. Grp. Inc., 2024 WL 896263, at *1 (S.D. Fla. March 1,

2024) (awarding $79k in attorney’s fees); Unisource Discovery, Inc. v. Unisource

Discovery, LLC, 2023 WL 4188118, at *1 (S.D. Fla. June 26, 2023) (awarding over

$300k in attorney’s fees).

      55)    Plaintiff’s attorney bills at a rate of $650/hour. See Pineda v. Dale C.

Glassford, P.A., Case No. 1:21-cv-20764, ECF 52 (S.D. Fla. August 13, 2021)

(declaration of Maury Udell in support of motion for attorney fees stating that his

hourly rate is $650/hour). Thus, Plaintiff’s attorney would have to bill only 104

hours to exceed the jurisdictional amount. This is significantly less than Plaintiff’s

counsel has previously sought in attorney’s fees in prior FDUTPA cases brought

against AT&T in small claims court. See Greenberg v. AT&T Mobility LLC, Case

No. 2016-002810-SP-05 (Miami-Dade County Small Claims Division) (in a case

seeking only $5k in damages, awarding $174k in attorney’s fees based on 280 hours

billed by Mr. Udell in a FDUTPA action against AT&T, as well as $15k in expert

fees). And Mr. Udell has already served extensive, time-consuming discovery

regarding the data incident—discovery as broad as AT&T is likely to see in the

Texas MDL. For example, Mr. Udell has broadly sought all internal and external

communications regarding any data incident for the past six years; all incident




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reports regarding any data incident over the past six years; all documents

describing data security measures and policies for the past six years; all risk

assessments, security audits and vulnerability assessments conducted; and all

contract and agreements with vendors handling storage of data allegedly impacted

by the incident. (Ex. B, Docket.) Mr. Udell has also already served a notice to take

AT&T’s deposition to obtain testimony regarding any data incident that has

occurred since 2019 and any data security policies and procedures in place at the

time of the incident, any corrective actions taken in response to the data incident,

and any risk assessments, security audits or vulnerability assessments conducted

prior to any data incident for the past six years. (Ex. B, Docket.)

      56)     Injunctive Relief. Finally, Plaintiff’s request for declaratory and

injunctive relief may also be considered for purposes of calculating the amount in

controversy. See Hunt v. Nationstar Mortgage, LLC, 782 Fed. Appx. 762, 768 (11th

Cir. 2019).

      57)     Therefore, there is complete diversity between Plaintiff and AT&T

Mobility LLC, and the amount in controversy exceeds $75,000. Thus, this Court has

original jurisdiction and removal is proper pursuant to 28 U.S.C. § 1332(a).

                                   VENUE IS PROPER

      58)     This Court is in the judicial district and division embracing the place

where Plaintiff filed the State Court Action and where it is pending. Specifically,

the United States District Court for the Southern District of Florida embraces

Miami-Dade County, Florida. See 28 U.S.C. §§ 1441, 1446.




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                               TIMELINESS OF REMOVAL

       59)    Plaintiff’s Complaint was filed and served on January 17, 2025. AT&T

Mobility LLC filed this Notice less than thirty days later and removal is, therefore,

timely. See 28 U.S.C. § 1446(b); Murphy Bros. Inc. v. Michetti Pipe Stringing, Inc.,

526 U.S. 344, 348 (1999).

                                         NOTICE

       As required by 28 U.S.C. § 1446(d), AT&T Mobility LLC is providing written

notice of the filing of this Notice of Removal to Plaintiff and is filing a copy of this

Notice of Removal with the Clerk of the County Court for Miami-Dade County,

Florida.

Dated:        January 27, 2025                Respectfully submitted,




                                              By:   Yameel L. Mercado Robles
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                                                    Counsel for Defendant




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                          CERTIFICATE OF SERVICE

      I hereby certify that on January 27, 2025, a true and correct copy of the

foregoing document was served via email and U.S. mail upon the following:

Maury L. Udell
Beighley, Myrick & Udell, P.A.
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Counsel for Plaintiff




                                                    /s/Yameel L. Mercado Robles
                                                    Counsel for AT&T Mobility LLC




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